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Exhibit 8
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS
%

IN RE: NEURONTIN MARKETING, SALES
PRACTICES AND PRODUCTS LIABILITY
LITIGATION

 

CASE NO.
04-10981

RUTH SMITH, Individually and as
Widow for the use and benefit of
herself and the next of kin of
Richard Smith, deceased.

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THIS DOCUMENT RELATES TO: )
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05-CV-11515 )

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VIDEOTAPED DEPOSITION OF
PAUL R. McCOMBS, III, M.D.

Taken on Behalf of the Plaintiffs

June 8, 2007

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effects. In terms of telling m me all that they

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Page 10 Page 12 :
1 October '03, and at that time, was doing well. 1 know, I don't know what -- what's appropriate
2 Released him from my care. 2 there. :
3 And the next time I saw him was in March 3 Q. Okay. Let me ask it to you this way, did ;
» 4 of '04, and at that time, he was having recurrent * | 4 you know that Neurontin was a drug that the FDA at :
5 pain in his back and into his legs. 5 least had considered might lead to suicides? /
6 Q. Allright. So if I understand this right, 6 A. No. A
7 you did a surgery on his low back that seemed 7 MR. FERGUSON: Object to form.
8 to -- to help him? 8 BY MR. LANIER: :
9 A. Yes. 9 Q. Did you know that Neurontin was a drug :
10 Q. You released him in October of '03 after 10 where there was concern within the -- the -- the i
11 following up from that surgery? 11 drug company and the FDA about whether it
12 A. Yes, 12 increased depression? :
13 Q. And he seemed to be doing fine until he 13 MR. FERGUSON: Object to form. ;
14 came back to you in March of '04? 14 THE WITNESS: No. r
15 A. Yes. 15 BY MR. LANIER: :
16 Q. And it looked like he was having more 16 Q. Is that the kind of information you'd like ;
17 problems? 17 toknow? :
18 A. Yes. 18 A. Ifit is considered a significant risk, ;
19 Q. When he came back to you in March of '04, | 19 then, yes, Ido. F
20 did you -- what -- what did you do? 20 Q. Okay. If you -- when -- when Richard :
21 A. Well, I conducted an examination on him, 21 Smith presented to you, at any time that he came ;
22 and I reviewed his studies that were done. He had | 22 in, did he -- did he ever present, either himself
23 some narrowing of the spinal canal above the level | 23 or through phone calls with his daughters, as :
24 of his previous surgery site. We -- he had seen, 24 someone who was depressed and -- and down? :
25 by that time, Dr. Howell and Dr. Mackey. Both 25 A. Yes, sir. ;
, Page 11. Page 13
/ 1 are --Dr. Mackey is an orthopedic spine surgeon. 1 Q. Is that something that's rare with people ;
2 Dr. Howell is a neurosurgeon in this group. 2 who have a lot of back pain that need your help, :
3 The -- it was recommended that he be 3 or is that --
4 treated conservatively. That was carried out. 4 A. Chronic -- chronic pain syndromes are
5 The last time I saw him physically was on 5 frequently associated with depression and treated =f
6 31 March 2004. 6 with medication for depression. ;
7 Q.. Okay. Doctor, I've had a chance to look 7 Q. Okay. Is that the kind of fellow you :
8 through your records; I think all the parties 8 would ever want to give a drug to that -- if you
9 have. We show a period of time where y'all were 9 had a choice in the matter -- that -- if that drug
10 giving the drug Neurontin to Mr. Smith. I'd like 10 was going to be one that increased depression or
11 to talk to you for a bit -- minute about 11 caused a loss of impulse control or suicide or ;
12 Neurontin. 12 things like that? --
13 First of all, that is the drug you've 13 A. It's something that would have to be :
14 prescribed, I'm assuming? 14 weighed. If the patient's depression was caused :
15 A. Yes. It is a drug that had been started 15 by significant pain and the Neurontin helped the :
16 by another physician that we continued. 16 pain, that would maybe help the depression, butit ff
17 Q. Okay. And is it important that drug 17 could do -- it could go either way. ;
18 companies tell you everything they know about 18 Q. Allright. Is that why it's important for ;
19 their drugs and possibile side effects that they 19 you as a doctor to know if suicide or depression :
20 suspect might be caused by their drugs? 20 is a-- considered a prominent side effect of the :
21 A. I don't know what the standard of care in 21 drug?
22 the community is in that regard. I do know that I 22 A. Yes.
423 like my detail reps to come talk to me about what 23 Q. _ Ifyou had been told by the detail reps ;
4 the indications for uses are and potential side 24 who were -- were -- in talking to you about the ‘
25 25

drug Neurontin, that t this drug was one that i is :

Serta eee

4 (Pages 10 to 13)
